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                     14                               UNITED STATES DISTRICT COURT
                     15                             CENTRAL DISTRICT OF CALIFORNIA
                     16                                     SOUTHERN DIVISION
                     17 UNITED STATES OF AMERICA ex rel Case No. 2:13-cv-05861 JLS (AJS)
                            MARIA GUZMAN, et al,
                     18                                                 Date: May 14, 2021
                                            Plaintiffs,                 Time: 10:30 a.m.
                     19                                                 Ctrm: 10A - 10th Flr.
                                      vs.                               411 W. Fourth Street
                     20                                                 Santa Ana, CA 92701
                            INSYS THERAPEUTIC, INC.;
                     21 MICHAEL BABICH, an Individual;                  DEFENDANT MICHAEL BABICH’S
                        ALEC BURLAKOFF, an Individual;                  NOTICE OF MOTION AND
                     22 JOHN N. KAPOOR, an Individual; and              MOTION TO UNSEAL RECORD;
                        DOES 1 through 15,,                             MEMORANDUM OF POINTS AND
                     23                                                 AUTHORITIES IN SUPPORT
                                            Defendants.                 THEREOF
                     24
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                     28
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                                            DEFENDANT MICHAEL BABICH’S NOTICE OF MOTION AND MOTION TO
                            1231798.01/LA    UNSEAL RECORD; MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                                SUPPORT THEREOF
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                      1 TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:
                      2        PLEASE TAKE NOTICE that on May 14, 2021 at 10:30 a.m., or as soon
                      3 thereafter as this matter may be heard in the above-entitled Court, located at 411 W.
                      4 Fourth St., Santa Ana, CA 92701, Defendant Michael Babich ("Babich") will, and
                      5 hereby does move to unseal the entire record in this action, inclusive of all
                      6 applications to and orders maintaining the sealing of documents in this action.
                      7        This Notice of Motion and Motion is made on the grounds that there is a strong
                      8 presumption in favor of open access to court records, Babich has a legitimate and
                      9 particularized interest in reviewing the records in this action to formulate its defenses,
                     10 and no compelling reason exists for maintaining these materials under seal.
                     11        This Motion is based upon this Notice of Motion and Motion, the attached
                     12 Memorandum of Points and Authorities, all documents on file in this action, and such
                     13 further or additional evidence or argument that may be presented before or at the time
                     14 of the hearing on this Motion.
                     15        This Motion is made following the conference of counsel pursuant to Local
                     16 Rule 7-3. See Declaration of Russell Piccoli in Support of Defendant Michael
                     17 Babich's Motion to Dismiss Third Amended Complaint and Unseal File. Dkt. 134-1.
                     18
                     19 Dated: December 28, 2020                    ALLEN MATKINS LECK GAMBLE
                                                                     MALLORY & NATSIS LLP
                     20                                             SCOTT J. LEIPZIG
                                                                    TIM C. HSU
                     21                                             ANDREW C. WHITMAN
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                                                                    By: /s/ Tim C. Hsu
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                                       UNSEAL RECORD; MEMORANDUM OF POINTS AND AUTHORITIES
                                                        INSUPPORT THEREOF
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                      1                 MEMORANDUM OF POINTS AND AUTHORITIES
                      2     I.    INTRODUCTION
                      3           On August 12, 2013 Plaintiff-Relator Maria Guzman (“Relator”) filed her
                      4 original qui tam complaint against Defendant INSYS Therapeutics, Inc. (“INSYS”).
                      5 Dkt. 1. Years later on June 13, 2016, Relator filed her Second Amended Complaint,
                      6 asserting, for the first time, federal claims against Babich under the False Claims Act.
                      7 Dkt. 33. After a years-long investigation, the United States filed a Notice of Intention
                      8 to Decline Intervention on April 13, 2018, declining to intervene as to Defendant
                      9 Babich and the other individual defendants. Dkt. 63. On May 11, 2018, the Court
                     10 ordered numerous docket items unsealed, citing to the United States’ Notice (“Order
                     11 to Unseal”). Dkt. 69. On August 13, 2018 Plaintiff filed the operative Third Amended
                     12 Complaint. Dkt. 96.
                     13           Despite the Court’s May 11, 2018 Order to Unseal, a significant amount of
                     14 records remain under seal. Babich now seeks to unseal the entire record in this action,
                     15 inclusive of all applications to maintain and orders maintaining the sealing of
                     16 documents in this action. Relator opposes this request, but has offered no compelling
                     17 reason why these materials must remain under seal. Dkt. 134. As explained below,
                     18 Babich has a legitimate need for the sealed court records, and there is no good cause
                     19 the keep the records at issue under seal.
                     20     II.   ARGUMENT
                     21           Members of the public have common law and First Amendment rights to access
                     22 court proceedings, including the right to inspect and copy materials filed with the
                     23 court. See, e.g., Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 678 (9th Cir. 2010);
                     24 Kamakana v. City & County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). “As
                     25 a general matter, there is a strong presumption of access to judicial records.” U.S. v.
                     26 Creekside Hospice II, LLC, 2015 U.S. Dist. LEXIS 173556 *23, 2015 WL 9581743
                     27 (D. Nev. 2015), quoting Kamakana, 447 F. 3d at 1179. The right to access court
                     28 records is so strong that a party seeking to preserve a seal bears the burden of
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                                         UNSEAL RECORD; MEMORANDUM OF POINTS AND AUTHORITIES
                                                          INSUPPORT THEREOF
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                      1 “overcoming the strong presumption [of access] . . . by articulat[ing] compelling
                      2 reasons supported by specific factual findings.” Kamakana, 447 F.3d at 1178 (internal
                      3 quotations omitted).
                      4        Even in the rare cases where the public’s right to access is not “compelling,”
                      5 parties seeking to preserve a seal must demonstrate “good cause” for doing so. Pintos,
                      6 605 F.3d at 678. In those circumstances, “good cause” requires a particularized
                      7 showing with respect to each document or category of documents at issue, including
                      8 a showing of the specific prejudice or harm to be caused by the unsealing. See, e.g.,
                      9 Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1130 (9th Cir. 2003); Phillips
                     10 ex rel. Estates of Byrd v. G.M. Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002).
                     11        “Generally in a qui tam action, “lifting the seal on the entire record is
                     12 appropriate unless the Government shows that such disclosure would: (1) reveal
                     13 confidential investigative methods or techniques; (2) jeopardize an ongoing
                     14 investigation; or (3) harm non-parties.” U.S. ex rel Handal v. Center for Employment
                     15 Training, 2015 U.S. Dist. LEXIS 156159 at *3-4, 2015 WL 7271766 at *1 (E.D. Cal.
                     16 2015), quoting U.S. ex rel Lee v. Horizon West, Inc., 2006 U.S. Dist. LEXIS 97310,
                     17 2006 WL 305966, at *2 (N. Dis. Cal 2006); Creekside Hospice II, *19-20. Where
                     18 unsealing the record would only reveal routine investigative techniques, the record
                     19 should be unsealed. Id. at *21; U.S. ex rel Ericson v. University of Washington
                     20 Physicians, 339 F. 2d 1124, 1127 (W.D. Wash. 2004). “[N]othing in the text of the
                     21 FCA authorizes the Government to obtain an indefinite seal of the record.” Creekside
                     22 Hospice at *24-25. The seal should be lifted if it has been maintained for a lengthy
                     23 period of time. Id. at *21.
                     24        Here, most of this file has been under seal since 2013. While the Order to
                     25 Unseal lifted the seal for specific documents, many other documents still remain
                     26 sealed, including what appear to be all of the applications to continue the stay and
                     27 earlier seal orders. The Government has already intervened in this action against Insys
                     28 and declined to intervene against Babich or other defendants. Dkt. 68.             The
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                      1 Government has likewise already obtained an award in a separate criminal proceeding
                      2 for over $56 million in restitution, including more than $30 million for damages due
                      3 to Medicare fraud, and as against Babich jointly and severally. Dkt. 134-2, Ex. G.
                      4         Babich has a legitimate, particularized interest for the unsealing the record.
                      5 Babich’s ability to mount a fulsome defense against Plaintiff’s claims is potentially
                      6 limited by the sealing of the record in this case. As indicated in Babich's concurrently
                      7 filed Motion to Dismiss, should dismissal not be granted on other grounds, Babich
                      8 will seek to assert defenses on statute of limitations grounds, which may be further
                      9 supported by the documents that remain sealed in this case. The Ninth Circuit has not
                     10 determined whether seal orders in and of themselves toll the statute of limitations,
                     11 irrespective of their circumstances. Given Plaintiff’s failure to serve Babich with any
                     12 pleading until September 2020, the analysis of this issue should be done on a full
                     13 record. To the extent this action is not dismissed pursuant to 31 U.S.C. §3730(e)(4)
                     14 or on res judicata grounds, the remaining sealed documents should be unsealed so as
                     15 to afford Babich an opportunity to utilize such records, as applicable, in support of his
                     16 limitations defense. While Relator does not agree to unsealing the record, she has
                     17 offered no “compelling reasons” why the seal should be maintained against the strong
                     18 interests of the public and Babich.
                     19 III.    CONCLUSION
                     20         For the reasons set forth herein, Babich respectfully requests the Court issue an
                     21 order unsealing the entire record in this action, inclusive of all applications to maintain
                     22 and orders maintaining the sealing of documents in this action.
                     23 Dated: December 28, 2020                     ALLEN MATKINS LECK GAMBLE
                                                                      MALLORY & NATSIS LLP
                     24                                              SCOTT J. LEIPZIG
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                     25                                              ANDREW WHITMAN
                     26
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                                                         INSUPPORT THEREOF
